
PER CURIAM.
Michael Leslie Davis appeals the final order dated June 17, 2004, of the Construction Industry Licensing Board (the Board). The order, which placed Davis on probation and ordered him to pay fines and costs, became effective when filed with the clerk of the Department of Business and Professional Regulation (the Department). The Department, the Appellee, confesses error because the penalties imposed upon Davis were not based on competent, substantial evidence to support the facts stated in the final order.
We agree with the Department’s confession of error. Therefore, we grant the Department’s request that the final order of the Board be vacated.
Order vacated; cause reversed and remanded.
STRINGER, DAVIS and KELLY, JJ., concur.
